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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TYLUS ALLEN JR.,
Plaintiff, No. 1:19-cv-07904
V. Judge Charles R. Norgle, Sr.
THE VILLAGE OF OAK LAWN, et al., Magistrate Judge Sidney I. Schenkier
Defendants.

 

 

AGREED ORDER FOR EXTENSION OF TIME TO ANSWER COMPLAINT

By agreement of the parties, the Defendants, The Village Of Oak Lawn, S. Heiling, M.
McNeela, P. Barron, and S. Sucharzewski (collectively, the “Oak Lawn Defendants”), shall have
up to and including March 25, 2020 to answer or otherwise respond to Plaintiff's Complaint.

enterep, 2-2 AO

Hon. Charles R. Norgle, SF.

 

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